          Case 1:19-cv-01868-RJL Document 49 Filed 07/21/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

         Plaintiff,


 v.                                                      Civil Action No. 1:19-cv-1868 (RJL)

 OMAROSA MANIGAULT NEWMAN,

         Defendant.


      PLAINTIFF’S SUPPLEMENTAL REPLY BRIEF IN SUPPORT OF MOTION FOR
                           SUMMARY JUDGMENT

        After receiving briefing from the parties on May 28, 2021 regarding the parties’ positions

on disputed discovery matters, the Court, by order dated June 14, 2021, stayed discovery pending

resolution of the parties’ summary judgment motions. The Court then provided the parties the

opportunity to supplement the record with the discovery that has been conducted since the parties’

original summary judgment motions were filed. See Minute Order of June 14, 2021.

        Defendant has not supplemented the record with evidence from such discovery. Instead,

Defendant claims that she is entitled to additional discovery—the same discovery that she

previously sought to obtain before summary judgment, a request that this Court denied. See ECF

No. 42; id. Exs. B & C, ECF Nos. 42-2 & 42-3 (May 21, 2021 emails seeking certain discovery);

cf. ECF No. 40 (Defendant’s May 28, 2021 filing regarding discovery disputes) & ECF No. 41

(Plaintiff’s May 28, 2021 filing regarding discovery disputes). Defendant also repeats her

argument that Government counsel objected improperly to certain questions at the deposition of

Ashley Cheung, which this Court has already considered. Compare ECF No. 42 at 4-6, with ECF

No. 40 at 5-10. Defendant has not satisfied the requirements for a motion for reconsideration, and
          Case 1:19-cv-01868-RJL Document 49 Filed 07/21/21 Page 2 of 3




the Court should disregard Defendant’s attempt to relitigate these issues.1 To the extent a response

is required, Plaintiff incorporates by reference its arguments from its May 28, 2021 filing.2 See

ECF No. 41.

       Absent from Defendant’s supplemental brief is any record evidence or argument setting

forth a genuine issue of material fact that would preclude summary judgment for the United States.3

The record evidence establishes that for more than three years Defendant willfully violated EIGA

by failing to submit her Termination Report within thirty days of her termination, and accordingly

the Court should grant summary judgment to the United States.4


1
  “Motions for reconsideration are disfavored[.] The granting of such a motion is . . . an unusual
measure, occurring in extraordinary circumstances. Accordingly, the movant must not relitigate
old matters, or raise arguments or present evidence that could have been raised [previously].”
Walsh v. Hagee, 316 F.R.D. 1, 2 (D.D.C. 2014) (first two alterations in original; internal quotation
marks and citations omitted). To prevail on such a motion, the moving party “bears the burden of
identifying an intervening change of controlling law, the availability of new evidence, or the need
to correct a clear error or prevent manifest injustice.” Id. (citation and internal quotation marks
omitted). Defendant has made no showing of any of the above factors; she makes no suggestion
that there has been any change in law or fact since her May 28, 2021 submission or the Court’s
ruling of June 14, 2021, and to the extent her filing can be construed as an argument that the
Court’s ruling was “clear error” or resulted in “manifest injustice,” that is incorrect for the reasons
stated herein and in Plaintiff’s May 28, 2021 filing. See ECF No. 41.
2
  With respect to Ms. Cheung’s deposition, Defendant concedes that it is permissible to instruct a
witness not to answer to preserve a privilege and to enforce a limitation ordered by the Court. See
ECF 42 at 4. Each of Government counsel’s objections noted in Defendant’s filing is expressly
grounded in one or the other of these two bases, and thus Defendant thus has no cause to complain
about either. See ECF No. 42 at 5-6. Moreover, as noted in Plaintiff’s May 28, 2021 filing, Ms.
Cheung directly answered all the questions related to the three issues allowed by the Court. See
ECF No 41 at 13 n.7 (citing to the record of Ms. Cheung’s deposition). Defendant thus obtained
all the information from the deposition that she was permitted by the Court’s order.
3
  In her supplemental filing, Defendant appears to contend that she and her counsel first learned at
Ms. Cheung’s May 21, 2021 deposition that Scott Gast was in possession of the personal effects
that Defendant left in the White House. See ECF No. 42 at 2. But the record before the Court
establishes that Ms. Cheung advised Defendant’s counsel by email on May 16, 2019, before this
action was filed, that Mr. Gast had those personal effects and that she could coordinate with him
on their return. See ECF No. 41-1 at 18. Mr. Gast was also listed by Defendant as a potential
witness on her initial disclosures. Id. at 76. Defendant never noticed his deposition.
4
 Defendant’s inability to controvert the factual record submitted by Plaintiff was not for lack of
access to discovery. Defendant has now received over three thousand pages of documents from
                                                 2
          Case 1:19-cv-01868-RJL Document 49 Filed 07/21/21 Page 3 of 3




       For the reasons set forth above and in Plaintiff’s prior summary judgment briefing, ECF

Nos. 24, 31, 33, & 43 the Court should: (a) grant Plaintiff’s Motion for Summary Judgment; (b)

deny Defendant’s Motion for Summary Judgment; and (c) enter judgment for Plaintiff.


Dated: July 21, 2021                         Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Acting Assistant Attorney General

                                             ALEXANDER K. HAAS
                                             Branch Director

                                             JACQUELINE COLEMAN SNEAD
                                             Assistant Branch Director


                                             /s/ Christopher M. Lynch
                                             Christopher M. Lynch
                                             D.C. Bar # 1049152
                                             Trial Attorney
                                             United States Department of Justice
                                             Civil Division,
                                             Federal Programs Branch
                                             1100 L Street, N.W.
                                             Washington, D.C. 20005
                                             Tel.: (202) 353-4537
                                             Fax: (202) 616-8470
                                             Email: christopher.m.lynch@usdoj.gov

                                             Attorneys for Plaintiff




Plaintiff. She had the opportunity to conduct discovery both before and after the pending summary
judgment motions were filed. She even had the opportunity to take the deposition of opposing
counsel. The Government has fully responded to every discovery request not subject to a protective
order that Defendant propounded prior to Defendant’s May 21, 2021 request for privileged
information (which is subject to the current stay), and Defendant has deposed the only witness
whose deposition she has noticed in the case.
                                                  3
